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Keith Berglund, ]`§Sq. (Stale Bal‘ ,\`0.20?649)
Steven ]) Wegncr, Ii.'<t], (Sl:lle Hnr. Xn_ 53535)

'l`he 1`Serglund (`_iroup
149 S. liarringtnn Avernre, Sle. 181 /`]_A_r.a 40 ga q@/h[{§d.

I.es Angeles, Czr. 900-49
Telephone: 310»567-6070
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U.\"I'l`i",l) S'I`A'l`]£S 011` AMI‘IRICA, (`fRII\/IINAL .\"O. l?-er- 201-l (_AB.I)
l’laintil`i`, AMENDED PE'l`lTi()I\' [I\' OPPOSI'I`I()N
T() ORDER OF F()RFEI'I`URE
v.\'.

PA[.'_L J. MANAF()R'I`, Jl{,.

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Petitioner W()ndiawn, 1-1.(.`., 21 ?\`e\-'zn,ln limited liability Cornpziny (“\\f`nod]awn"), through
its present managing member Keith Berglnnd (“Berglund”). in further response to this Court’s
(Tonsenl Order I`tletl on Oelc)her 10, 2018 (Dnc. I\lo. 443) (lhe “{_`l<)nsent Order") by which various
items 01` properly were brought to be Forf`eited, files this An_iended Pen'tinn in Opposili_on 10 Order
01 l"orfciture ("Amended l’elitinn"') tn the initial 1’elili0n in (_)ppnsilinn to Order 01` 1~`01‘ reittlre
(thc "Initirrl l’eziticm"`), and hereby Submits facts under oath under the paragraphs set forth below
in suppon t)]`its right, lil1e and interest in and 10 n first priority accurin 1ien (thc “Lien”] in and tn
ar properly known ns 123 anler Street, !!SI_), ?\`e\v Yr)rk1 f\`ew Yc)rk 1(]016 (the "l‘rnpe.rty")
Which Secures 21 loan from Wuodlnwn 10 the Manai`erts (as hereafter delined) in the principal

amount t')I`SI,OZS,UUE`).(JO (lhe "(_)bligatinn") ns referenced by that certain Seeurcd 1"rmnisst)ry

- AMENDED PETITION IN OPPOSITION TO ORDER OF FORFEITURE

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.\'ote dated August 7, 2017 (thc “.\"ote”) executed in favor of Woodlawn by Jesand, LLC.
(“Jesand"), a Delawarc limited liability company, through its sole and managing membcr,
Kathleen B. Manafort (“KBM”). 'l`hc Obligation was further secured by that certain Guaranty ol`
I’ayment dated August 8, 2017, by Paul J. Manafort, Jr. (“I’JM”) (the “Guaranty”)l. True and
correct copies of the Note and Guaranty are attached to the lnitial Pctition and incorporated
therein by reference as Exhibits “l" and “2,” respectively.

I. Background Information and Petitioner’s Titlc and Intcrest in the Propcrty_

l. Woodlawn was established in 2017 as an investment/lending vehicle.

2. The I.oan was one of the first clients to be considered by Woodlawn. Specif'ically,
Woodlawn became aware that the Manaforts needed a loan 10 help with professional expenses
(the “Loan”). The Loan was to be secured by a first priority secured lien on the Property.

' 3. 'l`he terms of the Loan were negotiated by and between Bcrglund - counsel for
Woodlawn - and Bruce Baldinger (“Baldinger”) - counsel for the Manaforts. Joseph Rappa did
not have an interest in Woodlawn at thc time the Loan was made.

4. The Loan was evidenced by thc Note which set forth the Obligation, the maturity date
- initially, Deccmber 31, 2017 -- the per annum interest rate of 7 .25%, and the collateral ~ the
Lien and thc Guaranty.

5. The Manaforts were requested to and provided Woodlawn with standard
documentation consistent with a loan secured by real estate. 'l`he loan documents included,
without limitation: a) a good standing certificate for Jesand (the “Certif'icate”), b) borrower’s
counsel opinion from Baldinger (thc “Opinion”), c) consent of Jesand (the “Jesand Consent”), d)
affidavit of title from Jcsand (“Jcsand Al`fidavit”), and e) affidavit from AM (“AM Af`l'idavit”).
True and correct copies of the Ccrtificate, Opinion, Jesand Consent, Jesand Al`lidavit, and AM
Al`l`idavit are attached to the Initial Petition and incorporated therein by reference as Exhibits
“3,” “4,” “5,” “6,” and “7,” respectively

6. The primary collateral l`or the Note was the Lien on the Project which is memorialized

by that certain Mortgage dated August 7, 2017 executed by each of Jesand and Am together with

 

1 PJM, KBM, and their daughter Andrea Manafert (“AM”) shall hereafter be
collectively referred to as the “Manaforcs.”

AMENDED PETITION IN OPPOSITION TO ORDER OF FORFEITURE
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correct copy of the Extcnsion Request is attached to the Initial Petition and incorporated therein
by reference as l€xhibit “12."

13. Woodlawn did agree to forbear from declaring the Notein default post initial
maturity date and was negotiating the terms of a forbearance agreement Unfortunately, the
Manafons further defaulted under the terms of the forbearance agreement and via that certain
default letter dated June 19, 2018 (thc Default Letter”), the Manaforts were given until June 29,
2018 to pay the Obligation in full. 'l`he amount due under the Note as of June 19, 2018 was
31,043,337.39 (thc “Default Obligation”). A true and correct copy of the Default Letter is
attached to the initial Petition and incorporated therein by reference as l£xhibit “13.”

14. Thc Manaforts, through Baldingcr, continued to request a further short term extension
of the I.oan from Woodlawn through Berglund post receiving the Default l.etter. Specifically,
Baldinger indicated that thc Property was going to be either sold or refinanced as there was
significant equity in the Property to consummate a rcfinance.

15. During the course of the forbearance negotiations, thc Consent Order was entered and
the Forfeiture Petition was filcd. 'l`he amount due Woodlawn under the Note exceeds the Default
Obligation with interest and attorneys’ fees continuing to accrue pursuant to the terms of the
Note and related Loan documents

III. Additional Facts Supporting_ Pctitioner’s Claim to Rclicf

16. Relicf in the form of the return of the property or its monetary equivalent has been
granted in other cases with similar fact pattems. 'l`hese include ln re Anchorage Nautical Tours.
B, 102 B.R.74l (9th Cir. BAP 1989), (pre-petition oral assignment of proceeds effective
against subsequent lien holders and bankruptcy trustce); In re 'I`orrez, 63 B.R 751 (9"‘ Cir.BAP
1986) and In re Mississippi Valley Livestock, lne., 745 F.3d 301 (7th Cir. 2014) (constructivc
trust arises from the unauthorized or invalid transfer of property.)

17. Should the court request or require any further information before ruling on this
Petition, 1 would be happy to provide it to the best of my ability.

IV. Vcrif`tcation

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l declare under penalty of perjury under the laws of the United S_'t'ates of America that the

foregoing is true and correct.~

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Executed this 13th day of December, 2018 at _Los Angeles,'California.l

KEITH BERGLoanJ

MNDED PETITION IN OPPOSITION TO ORPER OF' FORFEITURE

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Case 1:1`8-me-00167-AB.] Doeument 17 Filed‘12/17/18 Page50f5

_ PRooF oF sERvicE '
`. lam a citizen of theUnited -States,'eniployed in the~City of_ Los Angeles and County of Los
Angeles, California. ~My business address is 149 S. Barrington Ave. Suite 181 Los Angeles, CA
90012. I am over the age o_f 18 years and riot a party to thewithin action. On today’s date, I
caused to be served the following:j ' ». '~ _ ' v '\

1) ~ AMENi)ED PET_lTioN IN‘oPi>'os"moN jro oRD`E-R oF Fo`RFErTURE

I enclosed the above-named documents in a sealed.envelope. or package addressed to the
persons at the~ addresses set~~f`orth below 'and placed the envelope .for collection and mailing, §
following our ordinary business practices 7I am readily familiar with the firm’s practice of
collection and processing correspondence for mailing in the.ordinary place of business On the_
same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
course of business with the United States Postal Serviee, in a sealed envelope or package with
postage fully prepaid.

l caused the above DOCUMENTS to be delivered via email to the addressee(s) set forth below.

-l caused the abovc‘DOCUMEN'l`S to be served on the parties in this action by causing them to
be delivered via _F ederal Express Standard Overnight Shipping to the addressee(s) set forth bclow.

-l caused the above DOCUMENTS to be'served on the parties in this action by causing them to
be delivered via facsimile. . ~

By personally delivering or causingto be delivered, a.true copy thereof to the persons at the
addresses setforthbelow.. _ ; ;,,_. . t ~ . . , y _ .

.i.'t..\.‘. t.

 

Clerk ' l ' ' ' ` Andrew Weissmann

United District'Court for `th'e District of Colu`m`bia Speeial Counsells' Office
333 Constitution Avenue, N.W. _ . 950 Pennsylvania Avenue N.W.,
washington D.c. 29001 _~ '_: v_ 7 1 ‘:,,g_:_ partington n;c. 20530 v

 

 

 

Daniel Claman , _ , . .
Money Laundering and.Asset_ Recovery~ S_eetion z ,__ v
1400 New York Avenue, N.W.,-Suite 1.0_100~‘
Washington D.C. 20540

 

 

I declare under penalty of perjury that the foregoing.is' true and correct and that this
declaration was executed on Decer`nber 13, 2018, in Los Angeles, California. ~

' f ~ 'HM/z%a,

z Ru'ssell Miller

 

Proof of Service

